                                    No. 25-1612

            UNITED STATES COURT OF APPEALS
                 FOR THE FIRST CIRCUIT
                              __________________________

                COMMONWEALTH OF MASSACHUSETTS, et al.,
                                 Plaintiffs-Appellees,
                                          v.
                       ROBERT F. KENNEDY, JR., et al.,
                             Defendants-Appellants.
                              __________________________

  Appeal from the U.S. District Court for the District of Massachusetts
                              __________________________

      PLAINTIFF STATES’ OPPOSITION TO DEFENDANTS’
           MOTION FOR A STAY PENDING APPEAL
                              __________________________

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                                   TABLE OF CONTENTS
Introduction ................................................................................................ 1
Statement of the Case ................................................................................ 3
    I.    Background ..................................................................................... 3
          A. The Challenged Directives ...................................................... 3
                 1.    The Secretarial Directive .................................................. 4
                 2.    The Memoli Directive ........................................................ 5
                 3.    Subsequent Directives ...................................................... 6
          B. The Resulting Grant Terminations......................................... 8
    II. Procedural History .......................................................................... 9
Argument .................................................................................................. 11
    I.    Defendants are unlikely to succeed on appeal. ........................... 12
          A. The district court had jurisdiction. ....................................... 12
                 1.    Defendants do not challenge the district court’s
                       jurisdiction to vacate the Challenged Directives. .......... 12
                 2.    The district court had jurisdiction to vacate the
                       resulting grant terminations. ......................................... 13
                         a.       Plaintiffs’ APA claims are not contractual in
                                  nature. .................................................................. 14
                         b.       The Tucker Act does not bar plaintiffs’ relief. .... 18
                         c.       The Supreme Court’s California order does
                                  not compel a different result. .............................. 20
          B. Defendants’ remaining merits arguments are forfeited
             and unavailing. ...................................................................... 22
                 1.    The challenged actions are not “committed to
                       agency discretion.” .......................................................... 23
                 2.    Defendants’ actions were arbitrary and capricious. ...... 24
    II. The judgment does not irreparably harm defendants. ............... 27
    III. Granting a stay will harm plaintiffs and the public. .................. 28
Conclusion ................................................................................................. 30



                                                       i
                               TABLE OF AUTHORITIES

Cases:
AAU v. Dep’t of Energy,
 2025 WL 1414135 (D. Mass. May 15, 2025) ......................................... 21
ABA v. Dep’t of Justice,
 2025 WL 1388891 (D.D.C. May 14, 2025)............................................. 21
Am. Sci. & Eng’g, Inc. v. Califano,
 571 F.2d 58 (1st Cir. 1978) ........................................................ 14, 15, 16
AMA v. Reno,
 57 F.3d 1129 (D.C. Cir. 1995) ................................................................ 24
Bowen v. Massachusetts,
 487 U.S. 879 (1988) .................................................................... 15, 17, 22
California v. Dep’t of Educ.,
 132 F.4th 92 (1st Cir. 2025)................................................................... 20
Chi. Women in Trades v. Trump,
 2025 WL 1114466 (N.D. Ill. Apr. 14, 2025) .......................................... 21
Climate United Fund v. Citibank, N.A.,
 2025 WL 1131412 (D.D.C. Apr. 16, 2025)............................................. 21
Cmty. Legal Servs. v. HHS,
 137 F.4th 932 (9th Cir. 2025) ................................................................ 21
Colorado v. HHS,
 2025 WL 1426226 (D.R.I. May 16, 2025) .............................................. 21
Dep’t of Educ. v. California,
 145 S. Ct. 966 (2025) .................................................................... 2, 20, 22
Dep’t of Educ. v. Louisiana,
 603 U.S. 866 (2024) ................................................................................ 12
Dep’t of State v. AIDS Vaccine Advocacy Coal.,
 145 S. Ct. 753 (2025) .............................................................................. 21
DHS v. Regents of the Univ. of California,
 591 U.S. 1 (2020) .................................................................................... 26
Does 1-3 v. Mills,
 39 F.4th 20 (1st Cir. 2022)..................................................................... 30


                                                    ii
Ferreiro v. United States,
 501 F.3d 1349 (Fed. Cir. 2007) .............................................................. 19
Green & Healthy Home Initiatives, Inc. v. EPA,
 2025 WL 1697463 (D. Md. June 17, 2025)............................................ 21
Hubbard v. Adm’r,
 982 F.2d 531 (D.C. Cir. 1992) ................................................................ 18
KalshiEX LLC v. CFTC,
 119 F.4th 58 (D.C. Cir. 2024) ................................................................ 27
Katz v. Cisneros,
 16 F.3d 1204 (Fed. Cir. 1994) ................................................................ 19
King County v. Turner,
 2025 WL 1582368 (W.D. Wash. June 3, 2025) ..................................... 21
Lincoln v. Vigil,
 508 U.S. 182 (1993) ................................................................................ 23
Maine v. USDA,
 2025 WL 1088946 (D. Me. Apr. 11, 2025) ............................................. 21
Maryland v. CNCS,
 2025 WL 1585051 (D. Md. June 5, 2025).............................................. 21
Match-E-Be-Nash-She-Wish Band v. Patchak,
 567 U.S. 209 (2012) ................................................................................ 19
Md. Dep’t of Hum. Res. v. HHS,
 763 F.2d 1441 (D.C. Cir. 1985) .............................................................. 15
Me. Cmty. Health Options v. United States,
 590 U.S. 296 (2020) ................................................................................ 17
Megapulse, Inc. v. Lewis,
 672 F.2d 959 (D.C. Cir. 1982) .................................................... 14, 15, 16
Merrill v. Milligan,
 142 S. Ct. 879 (2022) .............................................................................. 22
MTA v. Duffy,
 2025 WL 1513369 (S.D.N.Y. May 28, 2025) ......................................... 21
Nat’l Ctr. for Mfg. Scis. v. United States,
 114 F.3d 196 (Fed Cir. 1997) ................................................................. 18


                                                  iii
New Jersey v. Trump,
 131 F.4th 27 (1st Cir. 2025)............................................................... 2, 23
New York v. Trump,
 133 F.4th 51 (1st Cir. 2025)................................................................... 29
New York v. Trump,
 2025 WL 1098966 (D.R.I. Apr. 14, 2025) .............................................. 21
Nken v. Holder,
 556 U.S. 418 (2009) ...................................................................... 2, 12, 27
Ohio v. EPA,
 603 U.S. 279 (2024) ................................................................................ 24
Rhode Island v. Trump,
 2025 WL 1303868 (D.R.I. May 6, 2025) ................................................ 21
S. Educ. Found. v. Dep’t of Educ.,
 2025 WL 1453047 (D.D.C. May 21, 2025)............................................. 21
S.F. AIDS Found. v. Trump,
 2025 WL 1621636 (N.D. Cal. June 9, 2025) ......................................... 21
S.F. Unified Sch. Dist. v. AmeriCorps,
 2025 WL 1180729 (N.D. Cal. Apr. 23, 2025) .................................. 15, 21
Tootle v. Sec’y of the Navy,
 446 F.3d 167 (D.C. Cir. 2006) ................................................................ 20
Union of Concerned Scientists v. Wheeler,
 954 F.3d 11 (1st Cir. 2020) .................................................................... 24
Weyerhaeuser Co. v. FWS,
 586 U.S. 9 (2018) .............................................................................. 20, 23
Woonasquatucket River Watershed Council v. USDA,
 2025 WL 1116157 (D.R.I. Apr. 15, 2025) .............................................. 21
Statutes:
5 U.S.C. §551(4) ........................................................................................ 13
5 U.S.C. §551(11)(A) ................................................................................. 16
5 U.S.C. §551(13) ...................................................................................... 13
5 U.S.C. §701(a)(2) .................................................................................... 23
28 U.S.C. §1491(a) .................................................................................... 19

                                                    iv
28 U.S.C. §1491(a)(1) ................................................................................ 16
Regulations:
2 C.F.R. §200.340 ...................................................................................... 16
Rules:
Fed. R. App. P. 8(a)(1) .............................................................................. 23
Fed. R. Civ. P. 62(b) .................................................................................. 28
Treatises:
Matthew H. Solomson, Court of Federal Claims: Jurisdiction,
 Practice, and Procedure (2016).............................................................. 19




                                                    v
                           INTRODUCTION

     The agency actions underlying this case are, as the district court

found, “breathtakingly arbitrary and capricious.” App. 501. In a series

of directives containing virtually no reasoning, defendants prohibited the

National Institutes of Health from supporting any research into seven

topic areas. Defendants then executed those directives by canceling hun-

dreds of research grants to the 16 plaintiff states’ public universities—a

devastating blow with no precedent in NIH’s history.

     While defendants’ actions were extraordinary, the district court’s

decision was not: it granted run-of-the-mill APA relief by setting aside

the Challenged Directives and vacating the termination decisions that

flowed from them. For several reasons, that unremarkable judgment—

entered after a full trial of the merits—should not be stayed.

     First, defendants are unlikely to succeed in challenging the district

court’s jurisdiction. Defendants do not dispute the court’s jurisdiction to

vacate the Challenged Directives, and the APA plainly allows a district

court to review such generally applicable agency policies. As for the

downstream termination decisions, defendants’ jurisdictional objection

rests on the false premise (Mot. 1) that the district court “order[ed]



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[defendants] to pay money” based on “contractual obligation[s].” But the

district court enforced statutes and regulations, not contract terms, and

it granted vacatur under the APA, not money damages. Defendants try

to draw support from the Supreme Court’s recent order in Department of

Education v. California, 145 S. Ct. 966 (2025), but that per curiam deci-

sion considered different relief awarded in a different posture. It does

not guide the outcome here.

     Second, defendants are unlikely to show that the challenged agency

actions either were committed to agency discretion or satisfied the APA.

Defendants did not present these arguments in their stay motion below,

so they are forfeited. New Jersey v. Trump, 131 F.4th 27, 43 (1st Cir.

2025). And they fail in any event. Plaintiffs are not challenging discre-

tionary funding decisions—they are challenging agency policies well

within the APA’s scope. And those policies were “bereft of reasoning vir-

tually in their entirety” and “unsupported by factual development.” App.

337, 501.

     Third, the equities do not support a stay. Although the risk of harm

is one of the “most critical” considerations in the stay analysis, Nken v.

Holder, 556 U.S. 418, 434 (2009), defendants offer only limited and



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unpersuasive arguments on that front, failing to explain why the availa-

ble mechanisms for recovering any funds improperly paid to plaintiffs are

inadequate.   Defendants also cannot refute the significant harms to

plaintiffs and the public: the undisputed record shows that enforcement

of the Challenged Directives will destroy critical research programs, with

lasting consequences for plaintiffs’ institutions and vulnerable patients.

     The Court should deny defendants’ motion.

                     STATEMENT OF THE CASE

I.   Background

     A.    The Challenged Directives

     Widely acknowledged as a crown jewel of America’s scientific insti-

tutions, NIH is the largest public funder of medical research in the world.

App. 427. The agency’s work has spurred life-changing advances, from

the creation of the rubella vaccine to the development of treatments for

HIV. App. 170. NIH fuels these breakthroughs largely through compet-

itive research grants to non-federal scientists. App. 427. Historically,

the process of awarding these grants has been governed by the apolitical

assessment of proposed projects, as set forth in statutes, regulations, and

decades of agency policy. App. 427-429.

     That changed earlier this year with defendants’ adoption of a suite

                                    3
of policies—the Challenged Directives—prohibiting NIH from supporting

various categories of research, including projects with a perceived con-

nection to undefined terms like “DEI” or “transgender issues.” The dis-

trict court described the evolution of these directives in detail (App. 429-

491); an abbreviated account follows.

           1.    The Secretarial Directive

     On February 10, the Acting Secretary of Health and Human Ser-

vices issued a memorandum entitled “Secretarial Directive on DEI-Re-

lated Funding” (Secretarial Directive). App. 436-437. The memorandum

contains several conclusory statements about “DEI”—a term the di-

rective does not define. For example, the directive states, without any

support or elaboration, that “grants that support DEI” are “inconsistent

with the Department’s policy of improving the health and well-being of

all Americans,” and that such grants “can cause serious programmatic

failures.” App. 436. Based on these pronouncements, the directive in-

structs NIH personnel to pause all payments for grants “related to DEI

and similar programs” and advises that “grants may be terminated in

accordance with federal law.” Id.

     The administrative record for the Secretarial Directive consists



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solely of the two-page directive itself. App. 437. In other words, defend-

ants admit that they considered no other documents in promulgating the

directive or reaching the conclusions therein. D. Ct. Doc. 118-1 (¶7) (cer-

tifying that the “complete administrative record for [the Secretarial Di-

rective] consists of [A.R. 4-5]1).

            2.    The Memoli Directive

      On February 21, Acting NIH Director Matthew Memoli issued a

memorandum entitled “Directive on NIH Priorities” (Memoli Directive).

App. 446-447. The first half of the directive offers various conclusions

about “studies based on diversity, equity, and inclusion (DEI) and gender

identity,” including the assertion that such studies (1) “are antithetical

to the scientific inquiry, do nothing to expand our knowledge of living

systems, provide low returns on investment, and ultimately do not en-

hance health,” (2) “are often used to support unlawful discrimination on

the basis of race and other protected characteristics,” and (3) “ignore, ra-

ther than seriously examine, biological realities.” App. 446. The memo-

randum offers no support for these conclusory assertions, nor does it



1 Electronic copies of A.R. 1-3824 are being filed with this brief.   Copies
of A.R. 3825-4270 can be found at D. Ct. Docs. 131-6 to 131-15.


                                     5
define their key terms (e.g., “diversity, equity, and inclusion”). And, as

with the Secretarial Directive, the administrative record reveals that

Memoli did not consider any other documents or evidence in promulgat-

ing the memorandum.2

     The second half of the Memoli Directive puts these conclusory state-

ments into action, “direct[ing]” NIH offices to “conduct an internal review

of all . . . existing awards” to “ensur[e]” that they “do not fund or support

. . . DEI and gender identity research activities and programs.” App. 447.

The directive goes on to instruct that grants “deemed inconsistent with

NIH’s mission” may be “subject to funding restrictions, terminated or

partially terminated, paused, and/or not continued or renewed, in com-

pliance with all procedural requirements.” Id.

           3.    Subsequent Directives

     Starting in March, several follow-on directives expanded and oper-

ationalized the foregoing policies. App. 464-491. Two aspects of these

later directives are relevant here.



2 The memorandum states that Memoli “issue[d] th[e] directive based on

[his] expertise and experience,” App. 446, but the record showed, and the
district court found, that “much, if not all, of the content was provided to
[Memoli] by HHS.” App. 448.


                                      6
     First, these directives expanded the list of prohibited research sub-

jects. As just discussed, the Memoli Directive blacklisted any projects

related to “DEI” or “gender identity.” Subsequent directives grew that

list of forbidden topics to include “Vaccine Hesitancy,” “COVID,” “Climate

Change,” and “Influencing Public Opinion.” App. 490.3 The administra-

tive record does not explain the origin of any of these new topics.

     Second, these additional directives expressly instructed NIH offi-

cials to terminate awards with a perceived connection to the offending

topics—and even provided the exact language for NIH officials to use in

doing so. App. 461-463. For example, any decision terminating grants

on “DEI” grounds was required to include the following language:

     “Research programs based primarily on artificial and non-sci-
     entific categories, including amorphous equity objectives, are
     antithetical to the scientific inquiry, do nothing to expand our
     knowledge of living systems, provide low returns on invest-
     ment, and ultimately do not enhance health, lengthen life, or
     reduce illness. Worse, so-called diversity, equity, and inclu-
     sion (“DEI”) studies are often used to support unlawful dis-
     crimination on the basis of race and other protected charac-
     teristics ICO’s [sic], which harms the health of Americans.
     Therefore, it is the policy of NIH not to prioritize such re-
     search programs.”



3 The district court held that plaintiffs lacked standing to challenge a

seventh category, “China.” App. 491-492.


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App. 490 (quotation marks in original); see also id. (reproducing the full

menu of boilerplate termination language for all seven prohibited topics).

     As with the Secretarial and Memoli Directives, the record for these

follow-on directives reveals that defendants did not consider any materi-

als in promulgating them.

     B.    The Resulting Grant Terminations

     Defendants implemented the Challenged Directives by mass-termi-

nating hundreds of grants to plaintiffs’ public institutions. Each termi-

nation letter follows the same format, plugging the addressee, grant

number, and scripted basis for termination into a fill-in-the-blank tem-

plate with no individualized discussion of the relevant project. App. 462-

463; e.g., A.R. 2426-2427 (freestanding termination letter); A.R. 1785-

1786 (termination language in revised notice of award). Defendants is-

sued these terminations, which took immediate effect, with no advance

warning.

     The administrative record reveals the haste with which defendants

acted to execute these terminations. Over the month of March, for exam-

ple, Acting Director Memoli circulated spreadsheets containing any-

where from a dozen to several hundred grants, demanding that NIH



                                    8
officials promptly terminate the listed projects. E.g., A.R. 2469 (“Please

terminate the grants on the attached spreadsheet by COB today.”); A.R.

3122 (demanding termination of 530 grants “by COB next Friday,” with

“daily evening update[s] on how many were terminated”). The adminis-

trative record does not show who selected these awards for termination,

what criteria they used in identifying them, or how any specific program

was deemed related to one of the blacklisted topics.

      The terminated projects supported a wide range of research for our

Nation’s most underserved individuals. In Massachusetts, for example,

terminated studies sought to understand and reduce the spread of HIV

among at-risk populations. A.R. 2605-2612. In California, cancelled

studies sought to prevent suicide among children. A.R. 2972-2979. These

are just examples: the terminated studies addressed numerous health

conditions. E.g., A.R. 662-668 (Alzheimer’s); A.R. 2716-2722 (cardiovas-

cular disease).   Canceling these projects harmed—and continues to

harm—both plaintiffs and the public. See infra, pp. 28-30.

II.   Procedural History

      Plaintiffs sued and sought a preliminary injunction. Count 3 of the

operative complaint—the only count relevant here—alleged that the



                                    9
Challenged Directives were arbitrary and capricious in violation of 5

U.S.C. §706(2)(A). App. 234-245. Plaintiffs asked the district court to set

aside the directives and any action taken to implement them. App. 255.

     In an opinion on threshold issues, the district court rejected defend-

ants’ contention that the Tucker Act required the Court of Federal Claims

to hear plaintiffs’ claim. App. 268-283. The court acknowledged the Su-

preme Court’s recent order in California, but explained that, whereas the

California plaintiffs’ “only claim was to sums awarded to them in previ-

ously awarded discretionary grants,” here “the ‘essence’ of th[e] action

[was] not one of contract” and plaintiffs did not seek “monetary damages.”

App. 275, 282. The district court also rejected defendants’ argument that

plaintiffs were challenging funding decisions committed to agency discre-

tion. App. 286.

     The court consolidated plaintiffs’ preliminary-injunction motion

with a trial on the merits and—after production of the administrative

record and full briefing and argument—held that the Challenged Direc-

tives were neither “reasonable, nor reasonably explained.” App. 509; see

App. 332-347 (bench ruling), App. 416-518 (written decision). The court

found that the directives were “bereft of reasoning virtually in their



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entirety” and “unsupported by factual development.” App. 337; see, e.g.,

App. 502 (describing “sparse pseudo-reasoning” and “wholly unsupported

statements”). The court also found that the directives arbitrarily ignored

“the reliance interests of the many parties affected.” App. 337. The court

accordingly ruled that the Challenged Directives were arbitrary and ca-

pricious and ordered that the directives and resulting grant terminations

be set aside. App. 338-339. Finding that there was no just reason for

delay, the court entered partial final judgment on Count 3. App. 351-352.

     Defendants moved the district court for a stay pending appeal, rais-

ing only their argument that the Tucker Act divested the court of juris-

diction. D. Ct. Doc. 154, at 1-2. The district court denied the motion the

next day, reaffirming its jurisdictional ruling and finding, on the equities,

that a stay would cause plaintiffs irreparable harm by “destroy[ing] the

unmistakable legislative purpose” of supporting health research and

“throw[ing] the entire process” of grant restoration “into limbo.” App.

361-364.

                              ARGUMENT

     Because a stay “intru[des] into the ordinary processes of admin-

istration and judicial review,” the issuance of a stay “is not a matter of



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right.” Nken, 556 U.S. at 427. Instead, “the burden is on” the movant to

demonstrate that it is “likel[y] [to] succe[ed]” on appeal and that “the eq-

uities favor a stay.” Dep’t of Educ. v. Louisiana, 603 U.S. 866, 868 (2024).

Defendants cannot clear that bar.

I.   Defendants are unlikely to succeed on appeal.

     A.    The district court had jurisdiction.

     Plaintiffs asked the district court to set aside the Challenged Direc-

tives and to vacate the resulting grant terminations. The district court

had jurisdiction to do both.

           1.    Defendants do not challenge the district court’s
                 jurisdiction to vacate the Challenged Directives.

     Defendants wrongly characterize this lawsuit as “aris[ing] from the

termination of [plaintiffs’] grants.” Mot. 2. But plaintiffs’ arbitrary-and-

capricious claim centers on the Challenged Directives—agency policies

upstream of any specific terminations. See supra, pp. 3-11. Even defend-

ants eventually acknowledge the point: they concede, as they must, that

the judgment below (1) held unlawful and set aside the Challenged Di-

rectives and (2) vacated any terminations premised on the directives.

Mot. 9.

     Defendants do not challenge the district court’s jurisdiction to do


                                    12
the first of those things—i.e., to review and vacate the Challenged Direc-

tives. Nor could they: under the APA, courts may review agency policies

that prospectively govern agency decisions. 5 U.S.C. §551(13) (“agency

action[s]” include “rule[s]”); id. §551(4) (“rule[s]” include “statement[s] of

general . . . applicability and future effect” that “implement, interpret, or

prescribe law or policy”).4 Accordingly, there is no jurisdictional impedi-

ment to Paragraph I of the judgment below, which vacated the Chal-

lenged Directives.

            2.    The district court had jurisdiction to vacate the
                  resulting grant terminations.

      Because the district court had jurisdiction to vacate the Challenged

Directives—and because the Challenged Directives were the only basis

for the resulting grant terminations (App. 351 n. 2; A.R. 462-463)—it fol-

lows that the court had jurisdiction to vacate the terminations. Someone

injured by an agency decision may sue under the APA for “relief other

than money damages” unless another statute “expressly or impliedly for-

bids the relief which is sought.” 5 U.S.C. §702. Plaintiffs’ request to set



4 The district court correctly held that the Challenged Directives are “fi-

nal agency action” subject to APA review. App. 492-494. Defendants do
not contest that holding here.


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aside defendants’ termination decisions satisfies these conditions.

                 a.    Plaintiffs’ APA claims are not contractual in
                       nature.

     In determining whether a plaintiff’s claim falls within the APA or

the Tucker Act, courts ask whether the claim is “essentially a contract

dispute.” Am. Sci. & Eng’g, Inc. v. Califano, 571 F.2d 58, 61 (1st Cir.

1978). In doing so, courts examine (1) whether the “core determination”

in the suit is the existence of “a breach of contract” and (2) the type of

relief the plaintiff has requested. Id.; accord Megapulse, Inc. v. Lewis,

672 F.2d 959, 968 (D.C. Cir. 1982); Defs.’ Mot. 12. Here, both of these

factors demonstrate that plaintiffs’ arbitrary-and-capricious claim be-

longed in the district court under the APA—not the Court of Federal

Claims under the Tucker Act.

     First, “the ‘essence’ of this action is not one of contract,” as the dis-

trict court rightly recognized. App. 282. In ruling on the legality of the

grant terminations, the sole question before the district court was, as dis-

cussed, whether the Challenged Directives were lawful. In resolving that

question, the “core determination,” Am. Sci., 571 F.2d at 61, was whether

defendants violated the APA’s guarantee against arbitrary decisionmak-

ing—not whether they violated any contract terms. App. 282-283. In


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other words, the district court “decide[d] this case without ever reading

the grant agreements.” S.F. Unified Sch. Dist. v. AmeriCorps, 2025 WL

1180729, at *9 (N.D. Cal. Apr. 23, 2025) (brackets omitted); cf. Am. Sci.,

571 F.2d at 61 (explaining, by contrast, that where a claim “could not be

resolved without reference to the contract, exclusive jurisdiction lay in

the Court of Claims”). That is unsurprising: the Challenged Directives

announce a freestanding agency policy that is independent of any indi-

vidual grant.

     Defendants respond by mischaracterizing plaintiffs’ claim, arguing

(Mot. 13) that “[t]he source of plaintiffs’ purported rights to payment are

the grant agreements.” But plaintiffs have never asserted a “right to

payment.” Nor does the fact that defendants’ unlawful conduct affected

plaintiffs’ reimbursements “automatically transform [this] action”—

through “some mystical metamorphosis”—“into one on the contract.”

Megapulse, 672 F.2d at 968; see also Md. Dep’t of Hum. Res. v. HHS, 763

F.2d 1441, 1449 (D.C. Cir. 1985) (MDHR) (Bork, J.) (claims that “turn[ed]

on the interpretation of statutes and regulations rather than on the in-

terpretation of an agreement” were “not contract claims for Tucker Act

purposes”); Bowen v. Massachusetts, 487 U.S. 879, 894-901 (1988)



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(adopting MDHR’s reasoning).       After all, the APA recognizes that a

“grant of money” is among the “agency action[s]” within the statute’s am-

bit. 5 U.S.C. §551(11)(A).

     Equally unavailing is defendants’ argument (Mot. 15) that this is a

contract case because “an express grant term”—by which defendants

mean 2 C.F.R. §200.340—allowed them “to terminate grants that no

longer advance ‘program goals or agency priorities.’” Even if defendants

are correct that §200.340 is incorporated into NIH grant agreements (see

Mot. 4-5; but see D. Ct. Doc. 135, at 7-9), the source of plaintiffs’ rights

remains the regulation, and therefore plaintiffs’ claim is not “founded”

upon a contract as the Tucker Act requires. 28 U.S.C. §1491(a)(1).

     Second, the relief that plaintiffs received further confirms that their

claims are not contractual. Am. Sci., 571 F.2d at 61; Megapulse, 672 F.2d

at 968. In granting plaintiffs’ claims, the district court ordered the Chal-

lenged Directives and resulting terminations vacated under §706(2)(A).

App. 351-352. That relief resembles the relief in Bowen. Here, as there,

plaintiffs did not receive money “in compensation for the damage sus-

tained by the failure of the Federal Government to pay as mandated,” but

instead obtained “specific relief” setting aside the challenged government



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action. 487 U.S. at 895, 900; cf. Me. Cmty. Health Options v. United

States, 590 U.S. 296, 327 (2020) (holding that plaintiffs could proceed in

the Court of Federal Claims where they sought “sums already calculated,

past due, and designed to compensate for completed labors”).

     Defendants nevertheless insist (Mot. 14) that this suit is really one

“for ‘past due sums’ from the government.” But if the “alpha and omega

of this dispute” were money damages (id.), the district court would have

entered a money judgment. It obviously did not: the judgment below does

not order defendants to pay anything. App. 351-352.

     To be sure, the judgment may have the downstream effect of allow-

ing plaintiffs to seek reimbursements under their grant agreements: be-

cause the Challenged Directives are unenforceable, and because the re-

sulting terminations have been set aside, plaintiffs’ researchers may once

again seek reimbursement consistent with the usual rules and regula-

tions for doing so. But that does not transform plaintiffs’ claim into a

contract claim: an “action for specific relief” under the APA does not be-

come an action for damages merely because a judgment for the plaintiff

might “require the payment of money by the federal government.”

Bowen, 487 U.S. at 893-894; accord Hubbard v. Adm’r, 982 F.2d 531, 536



                                   17
(D.C. Cir. 1992) (reinstatement of federal employee “unquestionably a

form of specific relief” under §702 even if it results in payment of contrac-

tually owed compensation).

     Defendants’ contention (Mot. 16) that plaintiffs are seeking “the

classic contractual remedy of specific performance” fails for the same rea-

sons. In awarding plaintiffs’ requested relief, the district did not have to

examine any contract terms to discern the scope of plaintiffs’ rights or

defendants’ obligations. Nor did it order defendants to perform any part

of a contract. See Nat’l Ctr. for Mfg. Scis. v. United States, 114 F.3d 196,

198-199 (Fed Cir. 1997) (rejecting a similar argument). Accordingly,

plaintiffs’ arbitrary-and-capricious claim is a claim “seeking relief other

than money damages” within the meaning of §702.

                 b.    The Tucker Act does not bar plaintiffs’ relief.

     The carveout in §702, which prevents a plaintiff from suing under

the APA if another statute “expressly or impliedly forbids the [requested]

relief,” does not apply here. Defendants say the Tucker Act triggers that

exception, but the Tucker Act covers only “(1) actions brought pursuant

to money-mandating statutes, regulations, executive orders, or constitu-

tional provisions; (2) actions to recover illegal exactions of money by the



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United States; and (3) actions pursuant to contracts with the United

States.” Matthew H. Solomson, Court of Federal Claims: Jurisdiction,

Practice, and Procedure at 3-2 (2016) (quotation marks omitted). Defend-

ants have never suggested that this case falls into the first two categories,

and it does not fall into the third category for the reasons discussed above:

plaintiffs are not suing on a contract or seeking contractual remedies.

Accordingly, “the Tucker Act is not applicable and cannot forbid the re-

quested relief, either expressly or impliedly.” Katz v. Cisneros, 16 F.3d

1204, 1210 (Fed. Cir. 1994); see Match-E-Be-Nash-She-Wish Band v.

Patchak, 567 U.S. 209, 216 (2012).

     Defendants’ contrary arguments not only contradict the governing

statutes—they would create an intolerable jurisdictional void. Defend-

ants argue that the court below could not set aside the Challenged Direc-

tives and reinstate terminated grants. But neither can the Court of Fed-

eral Claims; its authority is generally limited to awarding retrospective

monetary relief. 28 U.S.C. §1491(a); Ferreiro v. United States, 501 F.3d

1349, 1353 n. 3 (Fed. Cir. 2007). The upshot: on defendants’ view, no

court has the power to vacate an illegal agency policy relating to federal

grants or to prospectively reinstate grants terminated based on such an



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illegal policy. So even if, for example, defendants issued a directive bar-

ring women from receiving NIH grants (and cancelled all outstanding

grants to women researchers), defendants’ theory would mean that no

court could grant prospective relief. That result would violate the APA’s

“basic presumption of judicial review.” Weyerhaeuser Co. v. FWS, 586

U.S. 9, 22 (2018); see Tootle v. Sec’y of the Navy, 446 F.3d 167, 176 (D.C.

Cir. 2006) (describing as “troublesome” the government’s “claim that nei-

ther the Court of Federal Claims nor the District Court has jurisdiction”).

                 c.    The Supreme Court’s California order does
                       not compel a different result.

     The district court correctly rejected defendants’ contention (Mot.

12-15) that “[California] is virtually indistinguishable from the instant

case.” App. 275; see App. 268-283.

     First, as the district court recognized, the claims in California were

“somewhat different than the claims presented here.” App. 275. In that

case, “the terms and conditions of each individual grant award [were] at

issue,” California v. Dep’t of Educ., 132 F.4th 92, 96-97 (1st Cir. 2025),

and the district court’s TRO “enforce[d] a contractual obligation to pay

money” by requiring “the Government to pay out past-due grant obliga-

tions,” California, 145 S. Ct. at 968. As already explained, none of that


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is true here: plaintiffs did not secure a money judgment, and their claims

did not require the district court to review any contract terms to under-

stand plaintiffs’ rights or defendants’ obligations. See supra, pp. 14-20.

     These factual differences render California inapposite. Indeed, in

recent weeks, numerous courts (including the Supreme Court) have re-

jected the federal government’s efforts to bring every case involving fund-

ing within the Tucker Act.5 These decisions prove that each case must

be evaluated on its own terms.



5 Dep’t of State v. AIDS Vaccine Advocacy Coal., 145 S. Ct. 753, 753
(2025); Cmty. Legal Servs. v. HHS, 137 F.4th 932, 939 (9th Cir. 2025);
Green & Healthy Home Initiatives, Inc. v. EPA, 2025 WL 1697463, at *14-
15 (D. Md. June 17, 2025); S.F. AIDS Found. v. Trump, 2025 WL
1621636, at *12 (N.D. Cal. June 9, 2025); Maryland v. CNCS, 2025 WL
1585051, at *27-28 (D. Md. June 5, 2025); King County v. Turner, 2025
WL 1582368, at *12 (W.D. Wash. June 3, 2025); MTA v. Duffy, 2025 WL
1513369, at *25-26 (S.D.N.Y. May 28, 2025); S. Educ. Found. v. Dep’t of
Educ., 2025 WL 1453047, at *9 (D.D.C. May 21, 2025); Colorado v. HHS,
2025 WL 1426226, at *9 (D.R.I. May 16, 2025); AAU v. Dep’t of Energy,
2025 WL 1414135, at *7 (D. Mass. May 15, 2025); ABA v. Dep’t of Justice,
2025 WL 1388891, at *6 (D.D.C. May 14, 2025); Rhode Island v. Trump,
2025 WL 1303868, at *6-7 (D.R.I. May 6, 2025); S.F. Unified, 2025 WL
1180729, at *6-11; Climate United Fund v. Citibank, N.A., 2025 WL
1131412, at *9-12 (D.D.C. Apr. 16, 2025); Woonasquatucket River Water-
shed Council v. USDA, 2025 WL 1116157, at *12-15 (D.R.I. Apr. 15,
2025); Chi. Women in Trades v. Trump, 2025 WL 1114466, at *8-10 (N.D.
Ill. Apr. 14, 2025); New York v. Trump, 2025 WL 1098966, at *1-3 (D.R.I.
Apr. 14, 2025); Maine v. USDA, 2025 WL 1088946, at *19-20 & n. 8 (D.
Me. Apr. 11, 2025).


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     Second, this case arises in a meaningfully different posture from

California. The Supreme Court’s per curiam order in that case rested in

part on the Court’s uncertainty, at the TRO stage, whether the plaintiffs

could establish irreparable harm warranting emergency interim relief.

145 S. Ct. at 968-969. This case stands on different footing: plaintiffs

secured a final judgment after a full trial on the merits, and the undis-

puted record shows that plaintiffs will suffer irreparable harm if a stay

enters. See infra, pp. 28-30.

     Third, a stay order—even one from the Supreme Court—“is not a

decision on the merits.” Merrill v. Milligan, 142 S. Ct. 879, 879 (2022)

(Kavanaugh, J., concurring). In nevertheless asking this Court to copy-

and-paste California’s result, defendants are placing more weight on that

order than it can bear. That is especially true given that California did

not overturn, narrow, or distinguish Bowen—instead, it cited Bowen as

good law. 145 S. Ct. at 968. Bowen thus applies with full force here.

And, for the reasons already explained, that on-point decision confirms

the district court’s jurisdiction. See supra, pp. 16-17.

     B.    Defendants’ remaining merits arguments are forfeited
           and unavailing.

     Defendants also argue (Mot. 16-20) that the disputed policies were


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committed to agency discretion and satisfied the APA. Because defend-

ants failed to include these arguments in the stay motion below, they are

forfeited. New Jersey, 131 F.4th at 43; see Fed. R. App. P. 8(a)(1). And

they are unpersuasive in any event.

           1.   The challenged actions are not “committed to
                agency discretion.”

     The APA bars judicial review for “agency action [that] is committed

to agency discretion by law.” 5 U.S.C. §701(a)(2). But the Supreme Court

has “read the exception in §701(a)(2) quite narrowly, restricting it to

those rare circumstances” in which “a court would have no meaningful

standard against which to judge” the agency’s actions. Weyerhaeuser, 586

U.S. at 23 (quotation marks omitted). This case does not present one of

those “rare circumstances.”

     Defendants’ contrary argument again mischaracterizes plaintiffs’

claims. Plaintiffs are not challenging NIH’s discretionary funding deci-

sions—they are challenging the promulgation of specific directives as ar-

bitrary and capricious. Citing Lincoln v. Vigil, 508 U.S. 182 (1993), de-

fendants argue (Mot. 17) that all “decisions to discontinue a program

funded by a lump sum appropriation” are committed to agency discretion.

But nothing in Lincoln absolves agencies of their obligations under


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§706(2)(A): discretion over resource allocation does not bar review of

whether an agency gave a reasoned explanation and complied with stat-

utory requirements. AMA v. Reno, 57 F.3d 1129, 1134-1135 (D.C. Cir.

1995); see Union of Concerned Scientists v. Wheeler, 954 F.3d 11, 18 n. 5

(1st Cir. 2020) (agency discretion over “individual hiring decisions” does

not preclude review of “an agency-wide policy”). That is the sort of review

the district court undertook here.

           2.    Defendants’ actions were arbitrary and capri-
                 cious.

     “An agency action qualifies as ‘arbitrary’ or ‘capricious’ if it is not

reasonable and reasonably explained.” Ohio v. EPA, 603 U.S. 279, 292

(2024) (quotation marks omitted). In applying that standard, courts ask

whether the agency “has offered a satisfactory explanation for its action,

including a rational connection between the facts found and the choice

made.” Id. (brackets omitted). The district court properly found that the

Challenged Directives failed that test. There is absolutely nothing back-

ing up the directives’ conclusory assertions: the certified record consists

almost exclusively of the directives themselves and boilerplate letters

that parrot the directives. The district court did not mince words in de-

scribing what that threadbare record revealed: defendants’ “edicts are


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nothing more than conclusory, unsupported by factual development” and

“bereft of reasoning virtually in their entirety.” App. 337. Defendants

are unlikely to overcome those findings on appeal.

     Defendants distort both the record and plaintiffs’ claims in arguing

(Mot. 19) that they complied with §706(2)(A) because “the challenged

grant terminations came after an individualized review.” The record

makes clear that defendants identified—as a matter of overarching

agency policy, irrespective of any individual grant—certain topics that

the agency decided to deem off-limits. App. 429-491. Plaintiffs’ arbi-

trary-and-capricious claim challenges that centralized policy decision.

App. 243-245.

     Regardless, there was no process of “individualized review.” The

administrative record does not reflect any such process—and defendants’

motion lacks a citation for their bald assertion that one took place. De-

fendants’ equally citationless contention (Mot. 20) that they provided “an

individual explanation” for each termination is even more brazen. As

discussed above, defendants terminated plaintiffs’ grants through hun-

dreds of boilerplate letters that copied the same stock script. See supra,

p. 8. Plaintiffs’ challenge centers on that stock reasoning, which the



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district court rightly found arbitrary and capricious.6

     Defendants also faintly argue that they did not ignore plaintiffs’ re-

liance interests, as the district court found, because “the grant termina-

tions provided for additional funds, where necessary, to support patient

safety and animal welfare.” Mot. 20; see App. 510. That sidesteps the

problem. As the district court recognized, plaintiffs’ public institutions

organize their affairs around grant awards—hiring staff, extending offers

of admission to students, purchasing equipment, recruiting study partic-

ipants, entering contracts with vendors, and more. App. 510-511. Shut-

tering these projects midstream destroys experiments, harms patients,

and deprives students and researchers of opportunities.         Defendants

failed to consider these issues. DHS v. Regents of the Univ. of California,

591 U.S. 1, 30 (2020) (requiring agencies to consider, when “chang[ing]

course,” that “longstanding policies may have engendered serious reli-

ance interests”).


6 The district court did not “err[]” in including a single citation to the

California dissent in its lengthy §706(2)(A) analysis. Defs.’ Mot. 1; see id.
at 19. The court merely quoted Justice Jackson’s indisputable observa-
tion that the implementation of the policy in that case, like implementa-
tion of the Challenged Directives here, was “robotic” and “abrupt[]” (App.
502)—an observation with which the California majority did not disa-
gree.


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      For all these reasons, defendants are unlikely to succeed on appeal.

II.   The judgment does not irreparably harm defendants.

      Even if defendants could establish a likelihood of success, “a show-

ing of irreparable harm is a necessary prerequisite for a stay.” KalshiEX

LLC v. CFTC, 119 F.4th 58, 64 (D.C. Cir. 2024); see Nken, 556 U.S. at

434. Defendants cannot make that showing.

      Defendants’ arguments on this point are, like the Challenged Di-

rectives themselves, utterly conclusory. Defendants argue (Mot. 20-21)

that the judgment will harm “the public fisc” through “the immediate

outflow of significant amounts of money with limited prospects for recov-

ery.” As an initial matter, NIH grantees may not simply draw down large

sums of money with abandon; they must, as always, comply with detailed

rules and regulations governing how and when they may seek reimburse-

ment. E.g., A.R. 3987-4025. Regardless, as plaintiffs have previously ex-

plained (D. Ct. Doc. 78, at 40), defendants have mechanisms to recover

any funds improperly paid to grantees. See A.R. 4080 (describing circum-

stances in which “NIH may identify and administratively recover funds”);

2 C.F.R. §200.345 (discussing post-closeout adjustments and refunds); id.

§200.346 (explaining that excess payments to grantees “constitute a debt



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to the Federal Government”); id. §200.410 (providing for collection of “un-

allowable” costs). Defendants have never grappled with these mecha-

nisms and never explained why they are insufficient here.

       That failure is fatal. It is not enough for defendants merely to as-

sert that they would suffer some harm absent a stay: they must actually

establish that harm and show that it is irreversible. They have not done

so.7

III. Granting a stay will harm plaintiffs and the public.

       The Court should also deny defendants’ motion because a stay

would jeopardize “health research already bought and paid for by the

Congress of the United States.” App. 363. As the district court explained,

“[e]ven a day’s delay” will cause irreparable harm to plaintiffs and the

public. Id.



7 Defendants contend (Mot. 20) that reinstatement of the illegally termi-

nated grants will irreparably impede “the President’s ability to execute
core Executive Branch policies,” but they fail to develop any argument on
that point. As the district court made clear, “a new administration is
certainly entitled to make changes,” but it must “work within the confines
of the law.” App. 501. Defendants also complain (Mot. 21) that “the dis-
trict court declined to order a bond,” but they appear to be confused: the
order below is a final judgment, not a preliminary injunction. The only
party who could be required to post a bond is an appellant seeking a stay.
Fed. R. Civ. P. 62(b).


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     The factual record is undisputed: plaintiffs will suffer significant

and irreparable harm if a stay allows defendants to continue enforcing

their unlawful directives. These harms include irreversible program-

matic harms, such as the loss of data in longitudinal studies, euthanasia

of animal test subjects, and spoiled specimens. E.g., Supp. App. 397-398,

454, 517, 529. A stay would also cause irremediable harm to a highly

specialized talent pool of researchers and students, including those af-

fected by layoffs, reduced graduate enrollment, rescinded offers of admis-

sion, and withdrawn funding offers. E.g., Supp. App. 114-115, 534-536,

548. Such “disruptions to research projects by state universities” and

“impediments to planning, hiring, and operations” weigh against defend-

ants’ request for a stay. New York v. Trump, 133 F.4th 51, 73 (1st Cir.

2025).

     A stay would also harm the public interest. Plaintiffs and their

public institutions use the grants at issue to promote the health of un-

derserved populations, including children, the elderly, racial and ethnic

minorities, and members of the LGBTQ+ community. See, e.g., Supp.

App. 101, 398, 554. Staying the district court’s partial judgment would

damage individuals’ health, impeding projects addressing cancer,



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suicide, alcohol misuse, sexually transmitted diseases, COVID-19, and

other serious health concerns. See, e.g., Supp. App. 7-8, 101, 235-236,

238, 246-247, 479-480.

     These harms are not, as defendants contend (Mot. 21), redressable

by a money judgment months or years from now. By then, clinical trials

will have long since been cancelled, setting back life-saving research by

years if not decades; programs will have shuttered; highly-trained pro-

fessionals will have lost their jobs; and vulnerable patients’ health will

have been put in grave peril. For all these reasons, the balance of equities

weighs against a stay. Does 1-3 v. Mills, 39 F.4th 20, 25 (1st Cir. 2022)

(emphasizing that a stay may be improper even if the movant faces irrep-

arable harm).

                             CONCLUSION

     The Court should deny defendants’ motion.




                                    30
July 8, 2025   Respectfully submitted.

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                                  35
                 CERTIFICATE OF COMPLIANCE

      This brief complies with the word limits of Federal Rule of Appel-
late Procedure 27(d)(2)(A) because, excluding the parts of the document
exempted by Rule 32(f), it contains 5,848 words.

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of Federal Rule of Appellate Procedure 32(a)(5) because it has been pre-
pared using Microsoft Word in Century Schoolbook, a proportionally
spaced typeface.

July 8, 2025                           /s/ Gerard J. Cedrone
